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                     8    and GOLDEN STATE FC LLC
                     9
                                                    UNITED STATES DISTRICT COURT
                    10
                                                  CENTRAL DISTRICT OF CALIFORNIA
                    11

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                          BRITTANY HAGMAN, and                      Case No.
                    14    ALBERTO GIANINI, individually, and
                          on behalf of other members of the         DEFENDANTS AMAZON
                    15    general public similarly situated,        FULFILLMENT SERVICES,
                                                                    INC. AND GOLDEN STATE FC,
                    16                           Plaintiffs,        LLC’S NOTICE OF REMOVAL
                    17                     vs.                      Action Filed:   December 4, 2017
                    18    AMAZON FULFILLMENT                        [28 U.S.C. §§ 1332, 1441, and 1446]
                          SERVICES, INC., a Delaware
                    19    Corporation, GOLDEN STATE FC,
                          LLC, a Delaware Corporation, and
                    20    DOES 1 through 100, inclusive,
                    21                           Defendants.
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                     1             TO THE CLERK OF THE CENTRAL DISTRICT OF CALIFORNIA
                     2    AND TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:
                     3             PLEASE TAKE NOTICE THAT Defendants Amazon Fulfillment
                     4    Services, Inc.1 (“Amazon”) and Golden State FC, LLC (“Golden State”)
                     5    (collectively, “Defendants”), by and through counsel, removes the above-entitled
                     6    action to this Court from the Superior Court of the State of California, County of
                     7    San Bernardino, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and the following
                     8    grounds.
                     9    I.       PROCEDURAL BACKGROUND
                    10             On December 4, 2017, Plaintiffs Brittany Hagman and Alberto Gianini filed
                    11    an unverified putative class action complaint for damages in the Superior Court of
                    12    the State of California, County of San Bernardino, entitled BRITTANY HAGMAN,
                    13    and ALBERTO GIANINI, individually, and on behalf of other members of general
                    14    public similarly situated vs. AMAZON FULFILLMENT SERVICES, INC., a
                    15    Delaware Corporation, GOLDEN STATE FC LLC, a Delaware Corporation, and
                    16    DOES 1 through 100, inclusive, Case No. CIVDS 1723776.
                    17             On December 5, 2017, Plaintiffs served copies of the Complaint, Summons,
                    18    and Civil Case Cover Sheet on the registered agent for Defendant. Copies of these
                    19    documents are attached hereto as Exhibit A. On January 4, 2018, Defendants filed
                    20    an answer to the Complaint in San Bernardino County Superior Court. A copy of
                    21    this document is attached hereto as Exhibit B. Exhibits A and B constitute all of
                    22    the pleadings, process, and orders served upon, or by, Defendants in the Superior
                    23    Court action.
                    24             In their Complaint, Plaintiffs seek to represent the following class: “All non-
                    25    exempt or hourly paid employees who have been employed by DEFENDANTS in
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                    27      Effective January 1, 2018, Amazon Fulfillment Services, Inc. changed its name to
                          Amazon.com Services, Inc. Declaration of Zane Brown, ¶ 6. This Defendant is
                    28    referred to simply as “Amazon” herein.
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                     1    the State of California in fulfillment centers, within four years prior to the filing of
                     2    this complaint until resolution of this lawsuit.” Compl. ¶ 18. Plaintiffs allege that
                     3    Defendants were joint employers of the Plaintiffs and the other putative class
                     4    members. Id. ¶¶ 9-10. Plaintiffs further allege that Defendants “did not
                     5    compensate [them and the other putative class members] for the time spent in
                     6    security lines at AMAZON’s fulfillment warehouses”; “required [them and the
                     7    other putative class members] to clock out prior to leaving on a lunch break,
                     8    subjecting them to waiting time in security lines, without pay and subtracting from
                     9    their meal break time”; and “failed to allow [Plaintiffs and the other putative class
                    10    members] to take full rest breaks due to the large size of the fulfillment centers,
                    11    leaving them unable to leave their work area and enjoy a full 10 minute
                    12    uninterrupted rest break.” Id. ¶¶ 27-29.
                    13             Plaintiffs allege the following violations in eight causes of action against
                    14    Defendants: (1) Violation of California Labor Code § 226.7 & § 512 (Failure to
                    15    Provide Meal Breaks); (2) Violation of California Labor Code § 226.7 (Failure to
                    16    Provide Rest Breaks); (3) Violation of California Labor Code § 223 (Failure to Pay
                    17    Agreed Upon Wages); (4) Violation of California Labor Code § 510 (Failure to Pay
                    18    Overtime Pay); (5) Violation of California Labor Code §§ 201-203 (Waiting Time
                    19    Penalties); (6) Violation of California Labor Code § 226(a) (Improper Wage
                    20    Statements); (7) Violation of California Labor Code §§ 246 & 247.5 (Failure to
                    21    Maintain Accurate Sick Time Pay Records); (8) Violation of California Business &
                    22    Professions Code § 17200, et seq.
                    23    II.      REMOVAL IS TIMELY
                    24             Plaintiffs served the registered agent for Defendants on December 5, 2017.
                    25    Because this Notice of Removal is filed within thirty days of service of the
                    26    Summons and Complaint, it is timely under 28 U.S.C. §§ 1446(b) and 1453. See
                    27    Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999). No
                    28    previous Notice of Removal has been filed or made with this Court for the relief
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                     1    sought herein.
                     2    III.     THIS COURT HAS ORIGINAL SUBJECT MATTER JURISDICTION
                                   UNDER CAFA
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                     4             Plaintiffs bring this action as a putative class action. Compl. ¶ 1. Removal
                     5    based on Class Action Fairness Act (“CAFA”) diversity jurisdiction is proper
                     6    pursuant to 28 U.S.C. §§ 1441, 1446, and 1453 because (i) the amount placed in
                     7    controversy by the Complaint exceeds, in the aggregate, $5 million, exclusive of
                     8    interest and costs; (ii) the aggregate number of putative class members is 100 or
                     9    greater; and (iii) diversity of citizenship exists between one or more plaintiffs and
                    10    one or more defendants. 28 U.S.C. §§ 1332(d)(2), 1332(d)(5)(B), and 1453.
                    11    Defendants deny Plaintiffs’ factual allegations and deny that Plaintiffs, or the class
                    12    they purport to represent, are entitled to the relief requested; however, based on
                    13    Plaintiffs’ allegations in the Complaint and prayer for relief, all requirements for
                    14    jurisdiction under CAFA have been met.2 Accordingly, diversity of citizenship
                    15    exists under CAFA and this Court has original jurisdiction over this action pursuant
                    16    to 28 U.S.C. § 1332(d)(2).
                    17             A.      The Putative Class Has More Than 100 Members.
                    18             Plaintiffs assert claims on behalf of a putative class comprised of “All non-
                    19    exempt or hourly paid employees who have been employed by DEFENDANTS in
                    20    the State of California in fulfillment centers, within four years prior to the filing of
                    21    this complaint until resolution of this lawsuit.” Compl. ¶ 18. Based on Plaintiffs’
                    22    definition, the putative class contains at least 40,000 non-exempt, hourly-paid
                    23    employees who worked for Golden State at a California fulfilment center between
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                            Defendants do not concede, and reserve the right to contest at the appropriate
                    27    time, Plaintiffs’ allegations that this action can properly proceed as a class action.
                          Defendants do not concede that any of Plaintiffs’ allegations constitute a cause of
                    28    action against them under applicable California law.
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                     1    December 4, 2016, and December 4, 2017.3 Declaration of Peter Nickerson
                     2    (“Nickerson Decl.”) ¶¶ 3-4.
                     3             B.      Diversity of Citizenship Exists.
                     4             To satisfy CAFA’s diversity requirement, a party seeking removal need only
                     5    show that minimal diversity exists; that is, that one putative class member is a
                     6    citizen of a state different from that of one defendant. 28 U.S.C. § 1332(d)(2);
                     7    United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv.
                     8    Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090–91 (9th
                     9    Cir. 2010) (finding that to achieve its purposes, CAFA provides expanded original
                    10    diversity jurisdiction for class actions meeting the minimal diversity requirement
                    11    set forth in 28 U.S.C. § 1332(d)(2)).
                    12             “An individual is a citizen of the state in which he is domiciled . . . .” Boon
                    13    v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter v.
                    14    Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes of diversity
                    15    of citizenship jurisdiction, citizenship is determined by the individual’s domicile at
                    16    the time that the lawsuit is filed. Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986).
                    17    Plaintiffs admit that they are both residents of San Bernardino County in the State
                    18    of California. Compl. ¶¶ 5-6. The Complaint does not allege any alternate state
                    19    citizenship. Therefore, Plaintiffs are citizens of California for diversity jurisdiction
                    20    purposes. Moreover, Plaintiffs bring claims on behalf of putative class members
                    21    residing in California. Thus, at least one putative class member is a citizen of
                    22    California for diversity jurisdiction purposes.
                    23             Pursuant to 28 U.S.C. § 1332, “a corporation shall be deemed to be a citizen
                    24    of every State and foreign state by which it has been incorporated and of the State
                    25    or foreign state where it has its principal place of business.” 28 U.S.C.
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                    27     While Plaintiffs assert a four-year limitations period, for purposes of this Notice
                          of Removal, Defendants conservatively utilize a one-year period prior to the filing
                    28    of the Complaint.
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                     1    § 1332(c)(1). The “principal place of business” for the purpose of determining
                     2    diversity subject matter jurisdiction refers to “the place where a corporation’s
                     3    officers direct, control, and coordinate the corporation’s activities . . . . [I]n practice
                     4    it should normally be the place where the corporation maintains its headquarters-
                     5    provided that the headquarters is the actual center of direction, control, and
                     6    coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation
                     7    holds its board meetings . . . .” See Hertz Corp. v. Friend, 559 U.S. 77, 92-93
                     8    (2010). Amazon is incorporated under the laws of Delaware and has its
                     9    headquarters in Seattle, Washington. Declaration of Zane Brown ¶ 7. Accordingly,
                    10    Amazon is a citizen of Washington and Delaware for the purpose of determining
                    11    diversity. 28 U.S.C. § 1332(c)(1).
                    12             Per 28 U.S.C. § 1332, an unincorporated association or corporation is
                    13    deemed to be a citizen of the state where it has its principal place of business and
                    14    under whose laws it is incorporated or organized. 28 U.S.C. § 1332(d)(10); see
                    15    also Ferrell v. Express Check Advance of Georgia, 591 F.3d 698, 704 (4th Cir.
                    16    2010) (holding that a limited liability company qualifies as an “unincorporated
                    17    association” under Section 1332(d)(10) for purposes of CAFA removal);
                    18    Marroquin v. Wells Fargo, LLC, 2011 WL 476540, at *2 (S.D. Cal. Feb 3, 2011)
                    19    (same). Golden State is organized under the laws of Delaware, and has its principal
                    20    place of business in Seattle, Washington. Declaration of Zane Brown ¶¶ 4–5.
                    21    Accordingly, Golden State is a citizen of Washington for the purposes of
                    22    determining diversity. 28 U.S.C. § 1332(c) & (d)(10).
                    23             Therefore, based on the Complaint, at least one member of the putative
                    24    plaintiff class is a citizen of a state different than at least one defendant. As a result,
                    25    diversity jurisdiction exists under CAFA. 28 U.S.C. § 1332(d)(2)(A) (requiring
                    26    only “minimal diversity” under which “any member of a class of plaintiffs is a
                    27    citizen of a State different from any Defendant”).
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                     1             C.      The Amount In Controversy Exceeds $5,000,000.
                     2             Pursuant to CAFA, the claims of the individual members in a class action are
                     3    aggregated to determine if the amount in controversy exceeds $5,000,000, exclusive
                     4    of interest and costs. 28 U.S.C. § 1332(d)(6). Because Plaintiffs do not expressly
                     5    plead a specific amount of damages, a removing party need only show that it is
                     6    more likely than not that the amount in controversy exceeds $5 million. See Singer
                     7    v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997). Defendants’
                     8    burden to establish the amount in controversy is by a preponderance of the
                     9    evidence. Dart Cherokee Basin Operating Company, LLC v. Owens, 135 S. Ct.
                    10    547 (2014); see also Jordan v. Nationstar Mortg., LLC, 781 F.3d 1178, 1183 (9th
                    11    Cir. 2015) (citing Dart Cherokee for the proposition that there is no anti-removal
                    12    presumption against CAFA cases). A removing party seeking to invoke CAFA
                    13    jurisdiction “need include only a plausible allegation that the amount in controversy
                    14    exceeds the jurisdictional threshold.” Dart Cherokee, 135 S. Ct. at 554. “If a
                    15    federal court is uncertain about whether ‘all matters in controversy’ in a purported
                    16    class action ‘do not in the aggregate exceed the sum or value of $5,000,000,’ the
                    17    court should err in favor of exercising jurisdiction over the case.” Senate Judiciary
                    18    Report, S. REP. 109-14, at 42 (2005) (citation omitted).
                    19             A removing defendant is “not required to comb through its records to identify
                    20    and calculate the exact frequency of violations.” Oda, et al. v. Gucci Am., Inc.,
                    21    2015 U.S. Dist. LEXIS 1672, at *12 (C.D. Cal. Jan. 7, 2015); see Sanchez v.
                    22    Russell Sigler, Inc., 2015 WL 12765359, *2 (C.D. Cal. April 28, 2015) (“[A]
                    23    removing defendant is not obligated to research, state and prove the plaintiff’s
                    24    claims for damages.”) (citation omitted). See also LaCross v. Knight
                    25    Transportation Inc., 775 F.3d 1200, 1203 (9th Cir. 2015) (rejecting plaintiff’s
                    26    argument for remand based on the contention that the class may not be able to
                    27    prove all amounts claimed: “Plaintiffs are conflating the amount in controversy
                    28    with the amount of damages ultimately recoverable.”); Ibarra v. Manheim Invs.,
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                     1    Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015) (in alleging the amount in
                     2    controversy, Defendants “are not stipulating to damages suffered, but only
                     3    estimating the damages in controversy.”). The ultimate inquiry is what amount is
                     4    put “in controversy” by the plaintiffs’ complaint, not what a defendant will actually
                     5    owe. LaCross, 775 F.3d at 1202 (internal citation omitted) (explaining that courts
                     6    are directed “to first look to the complaint in determining the amount in
                     7    controversy.”).
                     8             Under Dart Cherokee, a removing defendant is not required to submit
                     9    evidence in support of its removal allegations. Roa v. TS Staffing Servs, Inc., 2015
                    10    U.S. Dist. LEXIS 7442, at *4-5 (C.D. Cal. 2015). However, as detailed below,
                    11    Defendants have established by a preponderance of the evidence that the amount in
                    12    controversy exceeds $5 million and that the Court has jurisdiction pursuant to
                    13    CAFA. See, e.g., Gallegos v. Atria Mgmt. Co., LLC, 2016 U.S. Dist. LEXIS
                    14    104323, at *4-5 (C.D. Cal. Aug. 4, 2016) (denying remand and holding calculations
                    15    for the purposes of CAFA removal to be grounded in “reasonable assumptions”
                    16    where the defendant’s Director of Payroll multiplied the number of employees by
                    17    workweeks and average rates of pay to calculate meal period and rest break claims).
                    18    As discussed below, when the claims of the putative class members in the present
                    19    case are aggregated, their claims put into controversy over $5 million in potential
                    20    damages. 28 U.S.C. § 1332(d)(2).
                    21             Defendants deny Plaintiffs’ factual allegations and deny that they or the class
                    22    they seek to represent are entitled to the relief for which they have prayed.
                    23    Defendants properly complied with the Labor Code provisions at issue at all
                    24    relevant times. Plaintiffs’ allegations and prayer for relief, however, have “more
                    25    likely than not” put into controversy an amount that exceeds the $5 million
                    26    threshold when aggregating the claims of the putative class members as set forth in
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                     1    28 U.S.C. § 1332(d)(6).4
                     2                     1.   Plaintiffs’ Fifth Cause of Action For Waiting Time Penalties
                                                Under Labor Code § 203 Puts At Least $8,460,000 In
                     3                          Controversy.
                     4             Plaintiffs allege that Defendants “willfully failed to pay PLAINTIFFS and
                     5    the other class members who are no longer employed by DEFENDANTS their
                     6    wages, earned and unpaid at the time of discharge, or within seventy-two (72) hours
                     7    of their leaving DEFENDANTS’ employ.” Compl. ¶ 81. Plaintiffs seek statutory
                     8    penalties under California Labor Code § 203 for these alleged violations,
                     9    amounting to their regular hourly rate of pay for each day they were not paid, up to
                    10    a thirty-day maximum. Id. ¶ 84.
                    11             A claim for waiting time penalties has a three-year statute of limitations. See
                    12    Brewer v. General Nutrition Corp., 2015 WL 5072039, at *13 (citing Pineda v.
                    13    Bank of Am., 50 Cal. 4th 1389, 1401-02 (2010)). Since December 4, 2014, the
                    14    employment of at least 40,000 employees of Golden State in California who would
                    15    fall into Plaintiffs’ putative class description has ended. Nickerson Decl. ¶ 5. The
                    16    lowest wage per hour of those employees at the time their employment with Golden
                    17    State was terminated was approximately $11.75 per hour. Id. Plaintiffs allege that
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                          4
                    19      This Notice of Removal discusses the nature and amount of damages placed at
                          issue by Plaintiffs’ Complaint. Defendants’ references to specific damage amounts
                    20    and citation to comparable cases are provided solely for establishing that the
                    21    amount in controversy is more likely than not in excess of the jurisdictional
                          minimum. Defendants maintain that each of Plaintiffs’ claims is without merit and
                    22    that Defendants are not liable to Plaintiffs or any putative class member.
                    23    Defendants expressly deny that Plaintiffs or any putative class member are entitled
                          to recover any of the amounts or penalties sought in the Complaint. In addition,
                    24    Defendants deny that liability or damages can be established either as to the
                    25    Plaintiffs or on a classwide basis. No statement or reference contained herein shall
                          constitute an admission of liability or a suggestion that Plaintiffs will or could
                    26    actually recover any damages based upon the allegations contained in the
                    27    Complaint or otherwise. “The amount in controversy is simply an estimate of the
                          total amount in dispute, not a prospective assessment of [Defendants’] liability.”
                    28    Lewis v. Verizon Communs., Inc., 627 F.3d 395, 400 (9th Cir. 2010).
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                     1    Defendants systemically “did not compensate” them and the other putative class
                     2    members for time in security lines before clocking out of a shift while working for
                     3    Defendants. See Compl. ¶¶ 27-29. Thus, on the face of the Complaint, Plaintiffs’
                     4    allegations would apply to every shift worked, because Plaintiffs allege that they
                     5    were required to clock out for every break and end of a shift. See id. Plaintiffs also
                     6    specifically allege that wages were willfully withheld and owing from Defendants
                     7    for Plaintiffs and each and every other putative class member “who are no longer
                     8    employed by Defendants,” see Compl. ¶ 81, and thus all of those former employees
                     9    would be owed waiting time penalties. However, even assuming that only 15%
                    10    these employees were improperly denied wages for hours worked or overtime
                    11    compensation, or were not provided meal breaks and owed wages as a result, and
                    12    thus were improperly withheld wages upon termination,5 and applying the
                    13    minimum hourly wage earned of $11.75 per hour and a minimum daily shift of four
                    14    hours, Plaintiffs’ fifth cause of action for waiting time penalties still places at least
                    15    $8,460,000 in controversy: (6,000 putative class members, which is 15% of the
                    16    40,000 employees potentially at issue, x 4 hours per work day x $11.75 per hour x
                    17    30 days = $8,460,000).
                    18                     2.   Plaintiffs’ Other Causes of Action and Request for
                                                Attorneys’ Fees Put Additional Amounts in Controversy,
                    19                          Further Exceeding the CAFA Threshold.
                    20             Plaintiffs’ alleged amount in controversy just as to the Labor Code section
                    21    203 waiting-time penalty claim is at least $8,460,000. Defendants have
                    22    demonstrated this amount by a preponderance of the evidence, as presented with
                    23    this Notice of Removal. However, in addition to this amount, Plaintiffs’ other
                    24    causes of action place additional amounts in controversy, thus further exceeding the
                    25    CAFA threshold. As enumerated above in Section I, Plaintiffs bring seven
                    26    additional causes of action seeking classwide relief for various alleged Labor Code
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                          5
                           Defendants dispute Plaintiffs’ allegations, but analyze the potential amount in
                    28    controversy for purposes of removal only.
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                     1    violations, including meal period violations pursuant to Labor Code sections
                     2    226.7(a) and 512(a) (First Cause of Action), rest period violations pursuant to
                     3    Labor Code section 226.7(a) (Second Cause of Action), wage payment violations
                     4    pursuant to Labor Code section 223 (Third Cause of Action), overtime payment
                     5    violations pursuant to Labor Code section 510 (Fourth Cause of Action), wage
                     6    statement violations pursuant to Labor Code section 226(a) (Sixth Cause of
                     7    Action), failure to maintain accurate sick time pay records pursuant to Labor Code
                     8    sections 246 and 247.5 (Seventh Cause of Action), and violations of California
                     9    Business & Professions Code § 17200 (Eighth Cause of Action). Each of these
                    10    causes of action places additional amounts in controversy beyond the fifth cause of
                    11    action for waiting time penalties.
                    12             Plaintiffs also seek recovery of attorneys’ fees. Compl., Prayer for Relief.
                    13    Defendants deny Plaintiffs’ claim for attorneys’ fees. However, attorneys’ fees are
                    14    properly included in determining the amount in controversy. See Guglielmino v.
                    15    McKee Foods Corp., 506 F.3d 696, 698 (9th Cir. 2007); Brady v. Mercedes-Benz
                    16    USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D. Cal. 2002). See also Sasso v.
                    17    Noble Utah Long Beach, LLC, No. CV 14-09154-AB AJWX, 2015 U.S. Dist.
                    18    LEXIS 25921, at *5–6 (C.D. Cal. Mar. 3, 2015) (“The Court believes that, when
                    19    authorized by an underlying statute, the better view is to consider post-removal
                    20    attorneys’ fees because they are part of the total ‘amount at stake.’”) (citations
                    21    omitted); Giannini v. Northwestern Mut. Life Ins. Co., 2012 U.S. Dist. LEXIS
                    22    60143, at *4 (N.D. Cal. Apr. 30, 2012) (citing to Brady while holding that a
                    23    reasonable estimate of future attorneys’ fees can be used in calculating the amount
                    24    in controversy); Richardson v. Servicemaster Global Holdings Inc., No. C 12-77
                    25    CW, 2009 U.S. Dist. LEXIS 122219, at *4 (N.D. Cal. Dec. 15, 2009) (citing Brady
                    26    favorably to require a showing of attorneys’ fees likely to be incurred to determine
                    27    the amount in controversy). For purposes of removal, the Ninth Circuit uses a
                    28    benchmark rate of twenty-five percent of the potential damages as the amount of
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                     1    attorneys’ fees. In re Quintus Sec. Litig., 148 F. Supp. 2d 967, 973 (N.D. Cal.
                     2    2001) (benchmark for attorneys’ fees is 25% of the common fund). Courts
                     3    therefore include a potential 25% fee award in the CAFA amount in controversy.
                     4    See, e.g., Sanchez, 2015 WL 12765359, at *7. Even though Defendants have
                     5    already demonstrated by a preponderance of the evidence that the amount in
                     6    controversy exceeds $5,000,000, Defendants note that the inclusion of attorneys’
                     7    fees would add at least another $2,115,000 to the amount in controversy (25% of
                     8    $8,460,000), bringing the total amount in controversy to at least $10,575,000.
                     9    IV.      THIS COURT ALSO HAS ORIGINAL SUBJECT MATTER
                                   JURISDICTION UNDER DIVERSITY JURISDICTION
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                    11             In addition to removal under CAFA, removal is independently proper on the
                    12    additional basis of diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 and 1441.
                    13    “The district courts shall have original jurisdiction of all civil actions where the
                    14    matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
                    15    costs, and is between . . . citizens of different States.” 28 U.S.C. §§ 1332(a)-(a)(1).
                    16             Here, complete diversity exists between the parties because Plaintiffs are
                    17    both California residents, Compl. ¶¶ 5-6, and both Defendants are incorporated or
                    18    organized under the laws of Delaware and maintain their principal place of business
                    19    in Seattle, Washington. See Declaration of Zane Brown. Golden State’s status as
                    20    an LLC does not affect this analysis, as it is wholly owned by co-Defendant
                    21    Amazon.
                    22             Plaintiffs’ Complaint also satisfies the amount-in-controversy requirement, as
                    23    Plaintiffs specifically allege that the amount in controversy for each of the class
                    24    representatives exceeds $75,000. Compl. ¶ 1. (“The amount in controversy for the
                    25    class representatives, including claims for compensatory damages and pro rata
                    26    share of attorney fees, is more than $75,000.”) Thus, pursuant to the terms of
                    27    Plaintiffs’ own complaint, diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 and
                    28    1441 is further established.
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 BOCKIUS LLP                                                          11          DEFENDANTS’ NOTICE OF REMOVAL
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            Case 5:18-cv-00024-JVS-SHK Document 1 Filed 01/04/18 Page 13 of 13 Page ID #:13



                     1    V.       VENUE
                     2             This action was originally filed in the Superior Court for the County of San
                     3    Bernardino. Initial venue is therefore proper in this district, pursuant to 28 U.S.C. §
                     4    1441(a), because it encompasses the county in which this action has been pending.
                     5    VI.      NOTICE
                     6             Defendants will promptly serve this Notice of Removal on all parties and will
                     7    promptly file a copy of this Notice of Removal with the clerk of the state court in
                     8    which the action is pending, as required under 28 U.S.C. § 1446(d).
                     9    VII.     CONCLUSION
                    10             Based on the foregoing, Defendants requests that this action be removed to
                    11    this Court. If any question arises as to the propriety of the removal of this action,
                    12    Defendants request the opportunity to present a brief and oral argument in support
                    13    of their position that this case is subject to removal.
                    14
                          Dated: January 4, 2018             MORGAN, LEWIS & BOCKIUS LLP
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                    16
                                                             By /s/ Barbara J. Miller
                    17                                         Barbara J. Miller
                                                               Joel M. Purles
                    18                                         P. Bartholomew Quintans
                                                               Attorneys for Defendants
                    19                                         AMAZON FULFILLMENT SERVICES, INC.,
                                                               and GOLDEN STATE FC LLC
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 BOCKIUS LLP                                                         12             DEFENDANTS’ NOTICE OF REMOVAL
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